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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction


     RECEIVED IN CLERK'S OFFICE
           U.S.O.C•• Atlanta                NITED STATES DISTRICT COURT
                                                                         for the
         JUN O6 2022                                         Northern District of Georgia     [3
                                                                    Atlanta Division
                     D put Clerk

                  RAISSA DJUISSI KENGNE
                570 PIEDMONT AVE NE #55166
                     ATLANTA, GA 30308                                     )
                                                                            )
                                                                                   Case No.        1 : 2 2-CV- 2 23 7
                                                                                               (to be filled in by the Clerk's Office)
                                                                           )
                                                                           )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.       )
If the names ofall the plaintifft cannot fit in the space above,           )
please write "see attached" in the space and attach an additional          )
page with the full list of names.)
                                                                           )
                                    -v-
                                                                           )
                          ID.ME, INC.                                      )
                  COGENCY GLOBAL INC.
                                                                           )
                      250 Browns Hill Ct,
              Midlothian, VA, 23114 - 9510, USA                            )
                                                                           )
                             Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                           )
names of all the defendants cannot fit in the space above, please          )
write "see attached" in the space and attach an additional page
with the full list ofnames.)



                                     COMPLAINT AND REQUEST FOR INJUNCTION

I.          The Parties to This Complaint
           A.           The Plaintiff(s)

                       Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                       needed.
                                   Name                                RAISSA DJUISSI KENGNE
                                   Street Address                      570 PIEDMONT AVE NE #55166
                                   City and County                     ATLANTA, FULTON COUNTY
                                   State and Zip Code                  GA30308
                                   Telephone Number                    404-932-1651
                                   E-mail Address                      CIANESEYA2022@GMAIL.COM


           B.          The Defendant(s)

                       Provide the information below for each defendant named in the complaint, whether the defendant is an
                       individual, a government agency, an organization, or a corporation. For an individual defendant,
                       include the person's job or title (if known). Attach additional pages if needed.

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                     Defendant No. 1
                                Name                         ID.ME, INC. (Registered Agent: COGENCY GLOBAL INC.)
                                Job or Title (if known)
                                Street Address               250 Browns Hill Ct.
                                City and County              Midlothian, CHESTERFIELD COUNTY
                                State and Zip Code           VA, 23114 - 9510
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name                         Not Applicable
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name                         Not Applicable
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                      Defendant No. 4
                                Name                         Not Applicable ,
                                Job or Title (if/mown)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  ~Federal question                               ~ Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                     42 U.S.C. § 1104 Unemployment Trust Fund
                     26 U.S.C. 3301 et seq. Federal Unemployment Tax Act
                     O.C.G.A. § 34-8--45 Supplemental unemployment benefits

          B.·        If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name) RAISSA DJUISSI KENGNE                         , is a citizen of the
                                           State of (name) GEORGIA


                                b.        If the plaintiff is a corporation
                                           The plaintiff, (name) Not Applicable                                , is incorporated
                                                                  ------------------
                                          under the laws of the State of (name)    Not Applicable
                                                                                   -------------------
                                           and has its principal place of business in the State of (name)
                                           Not Applicable

                               (ff more than one plaintiff is named in the complaint, attach an additional page providing the
                               same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.        If the defendant is an individual
                                          The defendant, (name) Not Applicable                                 , is a citizen of
                                                                      -----------------
                                          the State of (name) Not Applicable                                 Or is a citizen of
                                           (foreign nation) Not Applicable



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                                b.         If the defendant is a corporation
                                           The defendant, (name) ID.ME, INC.                                                 , is incorporated under
                                                                     --~------------
                                           the laws of the State of (name)     VIRGINIA                                                           , and has its
                                                                               -"--'-'-'-'='"--'---'-"-'-------------
                                           principal place of business in the State of (name)    GEORGIA _ _ _ _ _ _ _ __
                                                                                                --=---==-=--~:__:c:_:____

                                           Or is incorporated under the laws of (foreign nation)   .c. N.:. :o:. .: t.c. A.:rP:. cP:. :.:lic:.c=a=-bl=--=e_ _ _ _ _ _ __
                                           and has its principal place of business in (name)    Not Applicable
                                                                                                -----'---'------------

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plafotiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (e.xplain):
                                The amount in the controversy cannot be easily estimated. Defendant refuses to provide access
                                to Plaintiff's account on ID.Me's website in order for Plaintiff to receive unemployment benefits
                                causing Plaintiff to live without income. In addition, Plaintiff is experiencing foreclosure, which
                                can be avoided by ID.ME providing access to Plaintiff's account. Plaintiff is unable to use her
                                 unemployment benefits to pay her mortgage.

III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?
                     The events giving rise to Plaintiff's claim occurred in Atlanta, GA - Fulton County.




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                     Plaintiff signed up for an ID.me account on 04/22/2022 at Georgia DOL to receive unemployment
                     benefits. Plaintiff was unable to create an ID.Me account and contacted ID.Me customer support on May
                     16th, 2022. Plaintiff received an email from ID.Me stating that "A Member Support Representative will be
                     reaching out as soon as possible with assistance. For your records, your ticket number is 10770653."
                     Plaintiff received additional emails from Shamora (Member Support Associate) on May 17th, 2022 and
                     nothing since then despite several emails from Plaintiff. Plaintiff received an email from John (Member
                     Support Associate) on May 27th, 2022 and shortly thereafter, had a video conference call with John to
                     validate Plaintiff's identity. Plaintiff is still not able to access her account on ID.Me in order to receive
                     TTl11fflll"Un~ .




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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)

                     Plaintiff signed up for an ID.me account on 04/22/2022 at Georgia DOL to receive unemployment
                     benefits.
                     Plaintiff was unable to create an ID.Me account and contacted ID.Me customer support on May 16th,
                     2022. Plaintiff received an email from ID.Me stating that "A Member Support Representative will be
                     reaching out as soon as possible with assistance. For your records, your ticket number is 10770653."
                     Plaintiff received additional emails from Shamora (Member Support Associate) on May 17th, 2022 and
                     nothing since then despite several emails from Plaintiff.
                     Plaintiff received an email from John (Member Support Associate) on May 27th, 2022 and shortly
                     thereafter, had a video conference call with John to validate Plaintiff's identity.
                     Plaintiff is still not able to access her account on ID.Me in order to receive unemployment benefits.


IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.
         Preventing Plaintiff's access to unemployment benefits will cause "irreparable harm" because Plaintiff will not be
         able to pay for housing or food. In addition, Plaintiff left BOO USA, her former employment, because of retaliation
         after notifying her supervisor, the SEC, and the PCAOB of unethical behaviors that are in violation of SEC
         regulations and PCAOB standards exhibited by Wesley Freeman, Scott Meier, Peter Poppo, Paul Davidson,
         Mark Davenport, and Johnson Wong at the following public companies and their affiliates: Interface, Atlanticus,
         BioHorizons (Henry Schein's subsidiary), Otelco, BlueLinx, NMS SPAR (subsidiary of SPAR). Since Plaintiff filed
         a complaint with the SEC and the PCAOB, her home has been broken into. Her phones and computers have
         been hacked. (Case No. 2022CV365268) Also, Plaintiff has been unable to access the limited amount of money
         she had invested on the Gemini platform. Furthermore, the economy has not yet fully recovered and Plaintiff is
         dealing with a complex set of issues such as non-existent income due to being blacklisted in the industry and
         ongoing concerns about the pandemic.
         A loss of housing or medical care and the inability to provide food, shelter and adequate childcare for a family constitute
        irreparable harm pending resolution of this cause of action and are not adequately compensable by an award of damages.
V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         _punitive money: dama_ges.
         WHEREFORE, Plaintiff respectfully requests this Court that Defendant be cited to appear and answer herein;
         that, on final hearing, the Court enters judgment against Defendant in Plaintiff's favor and grants relief to Plaintiff
         against the Defendant as follows:
         1. Declare that the Defendant violated the law as set forth above;
         2. Order Defendant, ID.Me, Inc, to give Plaintiff access to her account in order for Plaintiff to claim her
         unemployment benefits as stipulated under 2 U.S.C. § 1104 Unemployment Trust Fund, 26 U.S.C. 3301 et seq.
         Federal Unemployment Tax Act, and O.C.G.A. § 34-8-45 Supplemental unemployment benefits;
         3. Award the Plaintiff reasonable attorneys' fees and costs and/or pro se fees and costs for her investigation and
         prosecution of this action; and
         4. Grant any such additional relief to Plaintiff in law or equity as the Court deems just and proper under the
         circumstances.




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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:                        06/03/2022


                     Signature of Plaintiff
                     Printed Name of Plaintiff                RAISSA DJUISSI KENGNE


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Finn
                     Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




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